846 F.2d 75Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Bartehqua Nimely WISSEH, Defendant-Appellant.
    No. 87-7261.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Feb. 23, 1988.Decided:  April 8, 1988.
    
      Bartehqua Nimely Wisseh, appellant pro se.
      Kenneth Wayne McAllister, United States Attorney, for appellee.
      Before DONALD RUSSELL, CHAPMAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that this appeal from its order denying relief under 28 U.S.C. Sec. 2255 is without merit.  Leave to proceed in forma pauperis is granted.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  United States v. Wisseh, C/A No. 86-753-S (M.D.N.C. June 23, 1987).
    
    
      2
      AFFIRMED.
    
    